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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

ENERRA CORPORATION,                                               Civil Action No. 3:23-cv-00194-L

                                  Plaintiff,                      Honorable Sam A. Lindsay

        vs.                                                       JURY TRIAL DEMANDED

CONTI GROUP LLC, PLASTIKGAS LLC,
ROBERTO CONTI, JULIE CONTI, JORDAN
CONTI, ,

                                  Defendants.


CONTI GROUP, LLC,

                                  Counter-Plaintiff,

        vs.

ENERRA CORPORATION, SERGIO PEREZ,
MARK MILLS AND MICHAEL BROWN,

                                   Counter-Defendants.


              AGREED MOTION FOR ENTRY OF AGREED PROTECTIVE ORDER

        The Parties 1 are engaged in the discovery process. Portions of information to be produced

during discovery may be considered by one of the Parties to be confidential and/or proprietary in

nature. To that end, the Parties have agreed to terms under which such materials may be marked

as confidential, the process by which such materials will be protected from further disclosure, and

related procedural matters. Attached as Exhibit A is a copy of the Agreed Protective Order sought

to be entered by the Parties to this litigation.




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  The term “Parties” includes: 1) Plaintiff Enerra Corporation (“Plaintiff”) and Defendants Conti Group, LLC,
PlastikGas, LLC, Roberto Conti, Julie, Conti, and Jordan Conti (collectively “Defendants”); and 2) Conti Group,
LLC as Counter-Plaintiff and Counter-Defendants Sergio Perez, Mark Mills, and Michael Brown.


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Dated: August 7, 2023                    Respectfully submitted,

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